Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 1 of 10

Fillin this information to identify your case:

 

Debtor 1 Deborah Ann Allard : _
First Name 7 Middle Name Last Name —_
Debtor 2 — a 7 ee 7
| (Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Case number
(if Known)

6:18-bk-07259

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information

 

Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B.....c.cccccccccccscsssesesessenscscsresrssecensresecseseesressteusavseesesesereuseivevenvess

1b. Copy line 62, Total personal property, from Schedule A/B.o.c...cecccccecceccssscsccccevevevececvevevsvavssevssssssesvecsevevesesesscseeeece
1c. Copy line 63, Total of all property on Schedule A/B........c.c.ccccccccccescsecesssssseseusssseseseavsvavavavareressisseseesipseseusesveveveeiees

GEER Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.ecccccccccccccccccecccsecceseees

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F....c.ccccccscscccccecesees

Your total liabilities | $

imucce) Summarize Your Income and Expenses _

4. Schedule I: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 Of SCHEQUIEC [o.....ccccccccesceccscsesesescecscesvavssevsessssssscesvevsseceesuseseseeciees

Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule Joo.ccccccccccccccscseeseseeees siinecea pena ce anaciePanaeE Toe SmaERTE

Answer These Questions for Administrative and Statistical Records

Your assets
Value of what you own

$ 219,089.00
$ 3,355.00.
$ 222,444.00

Your liabilities
Amount you owe

Ss : 0.00
$ __ 9.00
& ____ 59,689.54
__so.sso.se

- _ en

S - 2,970.90
5 2,427.72

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
M@ Yes
7. What kind of debt do you have?
W Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
QO Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official orm 106Sum Summary of Your Assets and Liabilities and Cer ain Statistical Information page 1 of 2

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Best Case Bankruptcy
Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 2 of 10

Debtor? Deborah Ann Allard Case number (if known) 6:18-bk-07259

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14. $ 1,925.00

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) S 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ - 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) SO 0.00
9g. Total. Add lines 9a through 9f. |$ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 o!

8

eeticre Copyright (c}) 1996-2018 Best Case, LLC - www.bestcase.com Bast Case Banivupicy
Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 3 of 10

Fill in this information to identify your case and this filing:

 

Debtor 1 Deborah Ann Allard
First Name Middle Name Last Name
Debtor 2 7
(Spouse, if filing) First Name Middle Name Last Name 7

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Casenumber 6:18-bk-07259 HB Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CI No. Go to Part 2.

a Yes. Where is the property?

11 What is the property? Check all that apply
9A Nipmuc Trail 1 Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description (Duplex or multi-unit building the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.
B Condominium or cooperative
(0 Manufactured or mobile home
: Current value of the Current value of the
Providence RI 02904-0000 CO Land entire property? portion you own?
City State ZIP Code 1 Investment property —-—- $219,089.00 ____ $219,089.00
1 Timeshare ‘ He
Describe the nature of your ownership interest
QO) Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
Debtor 1 only Fee simple
Providence CJ Debtor 2 only
County O
Bebiet baie Depier= Oy Oo Check if this is community property
O At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

1456 Sqft condo with 2 bedrooms, 1.5 bath

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here... eee seeeeec eee ee see seneeeneeeseeseeeeeeeeee => | $21 9,089.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report iton Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

BNo
OO Yes

Official Form 106A/B Schedule A/B: Property page 1

 

BoSt-was. Bonkrupicy

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Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 4 of 10

Debtor! Deborah Ann Allard Case number (ifknown) _6:18-bk-07259

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

BNo
OC Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that mUMber Here... ccccesescsccoeseneessenenssecseseusunecuecuceasasceceneeeees=> _ ee $0.00

Es Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

No
QO Yes. Describe...

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections: electronic devices

including cell phones, cameras, media players, games
BNo
0 Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections:

other collections, memorabilia, collectibles
Bno
CO Yes. Describe...

9. Equipment for sports and hobbies
Examples, Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
BNo
OO Yes. Describe...

10. Firearms
Examples. Pistols, rifles, shotguns, ammunition, and related equipment

BNo
O Yes. Describe.....

11. Clothes
Examples; Everyday clothes, furs, leather coats, designer wear, shoes, accessories

BNo
O Yes. Describe.....
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
BNo
1 Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hino
OO Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
BNno
O Yes. Give specific information...

Official Form 106A/B Schedule A/B: Property page 2

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Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 5 of 10
Debtor? Deborah Ann Allard Case number (ifknown) 6:18-bk-07259__

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .. Se ECL CEE CERECEET CETTE CETL OT LECEE eer Ee eee - $0.00

EEEZAI Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

BNo
FO) YES ecsscccsesvssceesvsanesnanvansicy pesmmee va aeveasaeentctutiedaveitdacarcyicecaseescaeeeeonseeceaceceeeaneese

17. Deposits of money
Examples. Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

BNo

DY eS.occccceeeees Institution name:

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

BNno
O ves... Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

BNo

0 Yes. Give specific information about them.....ccccc.c000..
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Bno

OO Yes. Give specific information about them
Issuer name:

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

HNo

OO Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BNo
| =e Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

BNo
DD Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

BNo
OD Yes........ a Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
BNo
O Yes. Give specific information about them...

Official Form 106A/B Schedule A/8: Property page 3

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Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 6 of 10

Debtor1 Deborah Ann Allard : Case number (ifknown) 6:18-bk-07259

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

B No
0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

B No
OO Yes. Give specific information about them...
Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
B No

O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo

D Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits; unpaid loans you made to someone else
BNo

0 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

BNo

O Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
BNo
OO Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo

O Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
BNo

0 Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo
O01 Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here... sia ate esac qnse nati dnaeTRON WNT CEREEANEIEN rer HERRERA $0.00
Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
Official Form 106A/B Schedule A/B: Property page 4
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Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 7 of 10

Debtor1 Deborah Ann Allard Case number (ifknown) 6:18-bk-07259
37. Do you own or have any legal or equitable interest in any business-related property?
BB No. Go to Part 6.
O) ves. Go to line 38.

lim Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
BB No. Go to Part 7.
DO Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

BNo
C] Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ......0.0.cccccccscsssesesesseeeeee | $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, [ine 2 ooo ccccccsccsesceeenscsecscsessceceerssrnaaceevavsuavassssassssaesssssssseescoasacsacascassassaece $219,089.00
56. Part 2: Total vehicles, line 5 / $0.00

57. Part 3: Total personal and household items, line 15 $0.00

58. Part 4: Total financial assets, line 36 $0.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 x $0.00

62. Total personal property. Add lines 56 through 61... 7 $0.00 Copy personal property total «$0.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $219,089.00

Official Form iO6A/B Schedule A/B: Property page 5

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Case 6:18-bk-07259-CCJ

 
 

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Fill in this information to identify your case:

 

|
|
Debtor 1 Deborah Ann Allard
First Name ~ Middle Name _ Last Name a
| Debtor 2 oe 7 |
| (Spouse if, filing) First Name ~ Middle Name Last Name a |

United States Bankruptcy Court for the:

Case number
(if Known)

6:18-bk-07259 _

|
|
|
ae —— — mie SS

Official Form 106D

MIDDLE DISTRICT OF FLORIDA

Hi Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

01 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

@ Yes. Fill in all of the information below.

ERE List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As
much as possible, list the claims in alphabetical order according to the creditor's name.

_2.1_ Ocwen Loan Servicing
Creditor's Name oO

PO Box 9001719
Louisville, KY 40290

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

B pebtor 1 only

0 Debtor 2 only

O Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

CO) Check if this claim relates to a
community debt

Date debt was incurred unknown

_2.2 U.S. Bank National

Creditor's Name

c/o Robertson, Anschutz
& Sc

6409 Congress Ave., Ste
100

Boca Raton, FL 33487

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

B pebtor 1 only

C1 Debtor 2 only

O Debtor 1 and Debtor 2 only

(C0 At least one of the debtors and another

Oiicial Form 106D

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dase eee Column A~ Column B
Value of collateral
that supports this
claim

$219,089.00

Amount of claim
Do not deduct the
value of collateral.

Describe the property that secures the claim: Unknown

9A Nipmuc Trail Providence, RI
02904 Providence County

1456 Sqft condo with 2 bedrooms,
1.5 bath a
As of the date you file, the claim is: Check all that
apply.

O Contingent

O Unliquidated

C1 Disputed

Nature of lien. Check all that apply.

OC An agreement you made (such as mortgage or secured
car loan)

Oo Statutory lien (such as tax lien, mechanic's lien)
O Judgment lien from a lawsuit

a Other (including a right to offset) First Mortgage

Last 4 digits of account number unknown

Describe the property that secures the claim: Unknown. $219,089.00

9A Nipmuc Trail Providence, RI
02904 Providence County
1456 Sqft condo with 2 bedrooms,

1.5 bath Se
As of the date you file, the claim is: Check all that
apply.

Oo Contingent

0 unliquidated

O Disputed

Nature of lien. Check all that apply.

O an agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)
Oo Judgment lien from a lawsuit

Schedule D: Creditors Who Have Claims Secured by Property

W.Desicase.com

~ Column C

Unsecured

portion

If any
Unknown

Unknown

page 1 of 2

Best Case Banu,
Case 6:18-bk-07259-CCJ Doc 24 Filed 02/06/19 Page 9 of 10

Debtor 1 Deborah Ann Allard Case number (if known) 6:18-bk-07259

First Name Middle Name _ Last Name

C Check if this claim relates to a BW other (including a right to offset) First Mortgage

community debt

Last 4 digits of accountnumber unknown

Date debt was incurred unknown

Add the dollar value of your entries in Column A on this page. Write that number here: $0.00
If this is the last page of your form, add the dollar value totals from all pages. $0.00
Write that number here: | 7 _ “J

 

GEM22 List Others to Be Notified for a Debt That You Already Listed BS a

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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United States Bankruptcy Court
Middle District of Florida

Inre Deborah Ann Allard Case No. 6:18-bk-07259

 

Debtor(s) Chapter 7

 

AMENDED
DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing Summary of Schedules, Schedule A and
Schedule D, consisting of _9 _ page(s), and that they are true and correct to the best of my knowledge,
information, and belief.

2/6/19

Date Jamuary-34;-2049- Signature /s/ Deborah Ann Allard fj
Deborah Ann Allard OE
Debtor
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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